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 1
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     Attorney for Plaintiff

 7                     UNITED STATES DISTRICT COURT
 8                    NORTHERN DISTRICT OF CALIFORNIA
 9
     ABANTE ROOTER AND PLUMBING,)                        Case No.
10   INC.,                                      )
     individually and on behalf of all          )
11                                                        3:18-cv-04753-TSH
     others similarly situated,                 )
12                                              )
     Plaintiff,                                 )        NOTICE OF VOLUNTARY
13
     vs.                                        )        DISMISSAL OF ENTIRE
14
     ELITE FUNDING GROUP, INC. d/b/a)                    ACTION WITHOUT
15   ONE WAY FUNDING, LLC, and DOES)                     PREJUDICE.
     1 through 10, inclusive, and each of them, )
16
                                                )
17   Defendant.                                 )
18
           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
19
     Civil Procedure 41(a)(1), hereby voluntarily dismisses this action without
20
     prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
21
     motion for summary judgment. Accordingly, this matter may be dismissed
22
     without prejudice and without an Order of the Court.
23

24         Respectfully submitted this 1st Day of November, 2018.
25
                                             By: s/Todd M. Friedman Esq.
26
                                                  Todd M. Friedman
27                                               Attorney For Plaintiff
28




                                       Notice of Dismissal - 1
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 1                           CERTIFICATE OF SERVICE
 2
     Filed electronically on November 1 2018, with:
 3

 4   United States District Court CM/ECF system
 5
     Notification sent electronically on November 1 2018, to:
 6

 7
     To the Honorable Court, all parties and their Counsel of Record

 8

 9   s/ Todd M. Friedman
10
      Todd M. Friedman
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                                      Notice of Dismissal - 2
